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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

UNITED STATES OF AMERICA

v.                                            No. 3:19-MJ-077-BT

SANJAY NANDA


      ORDER ON SECOND JOINT MOTION TO CONTINUE TIME TO INDICT

       The Government and the Defendant, Sanjay Nanda, have jointly moved this Court

a second time to continue for a period of 45 days the date by which an indictment must be

filed in this case. For the reasons set forth in the Joint Motion, the Court GRANTS the

Motion.

       In accordance with 18 U.S.C. '' 3161(h)(8)(B)(iv), the Court finds that the ends

of justice served by granting this motion for continuance outweigh the best interests of

the public and the defendant in a speedy trial. In this regard, the Court has considered

factors that indicate that its failure to grant this motion would result in the unnecessary

expenditure of significant public and private resources, and a possible miscarriage of

justice. Therefore, any period of delay resulting from this Order granting the motion for

continuance shall be excluded in computing the time within which the trial of this cause

must commence under 18 U.S.C. ' 3161.
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      Accordingly, it is ORDERED that the deadline for the government to file an

indictment in this case is May 24, 2019.



Signed this April 16, 2019.



                                  _______________________________________
                                  HONORABLE REBECCA RUTHERFORD
                                  UNITED STATES MAGISTRATE JUDGE
